                Case 2:23-cv-00932-JHC Document 140 Filed 01/25/24 Page 1 of 2




1                                                                             Hon. John H. Chun

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7                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
8                                        AT SEATTLE

9
     FEDERAL TRADE COMMISSION,                             No. 2:23-cv-0932-JHC
10
               Plaintiff,
11                                                         PLAINTIFF’S NOTICE OF FILING
          v.                                               REDACTED MOTION TO COMPEL
12                                                         PRODUCTION OF DOCUMENTS
     AMAZON.COM, INC., et al.,                             CLAWED BACK DURING
13                                                         INVESTIGATION
               Defendants.
14

15
            Pursuant to Local Rule 5(g)(5), the Federal Trade Commission (“FTC”) attaches to this
16
     Notice a redacted, public version of its Motion to Compel Production of Documents Clawed
17
     Back During the Investigation (Dkt. #139) and the exhibit thereto.
18

19
     Dated: January 25, 2024                     /s/ Evan M. Mendelson
20                                               EVAN MENDELSON (DC Bar #996765)
                                                 OLIVIA JERJIAN (DC Bar #1034299)
21                                               THOMAS MAXWELL NARDINI
                                                 (IL Bar # 6330190)
22                                               Federal Trade Commission
                                                 600 Pennsylvania Avenue NW
23

     PLAINTIFF’S NOTICE OF FILING                                             Federal Trade Commission
     REDACTED MOTION                                                      600 Pennsylvania Avenue N.W.
     Case No. 2:23-cv-0932-JHC                                                   Washington, DC 20580
                                                     1                                   (202) 326-3320
             Case 2:23-cv-00932-JHC Document 140 Filed 01/25/24 Page 2 of 2




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                                         FEDERAL TRADE COMMISSION
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